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            4~A
              CoSUPERIOR                  COURT OF THE DISTRICT OF COLUMBIA
                                                CIVIL DIVISION

  JAH JAH BEY
     Vs.                                                               C.A. No.        2014 CA 002652 B
  EQUIFAX INFORMATION SERVICES, LLC
                                   INITIAL ORDER AND ADDENDUM


      Pursuant to.D.C. Code § 11 -906 and District of Columbia Superior Court Rule of Civil Procedure
  ("SCR Civ") 40-I, it is hereby ORDERED as follows:


        (1) Effective this date, this case has assigned to the individual calendar designated below. All future filings
  in this case shall bear the calendar number and the judge's name beneath the case number in the caption. On
  filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
  original.

       (2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
  copies of the Summons, the Complaint, and this Initial Order. As to any defendant for whom such proof of
  service has not been filed, the Complaint will be dismissed without prejudice for want of prosecution unless the
  time for serving the defendant has been extended as provided in SCR Civ 4(m).

        (3) Within 20 days of service as described above, except as otherwise noted in SCR Civ 12, each defendant.
  must respond to the Complaint by filing an Answer or other responsive pleading. As to the defendant who has
  failed to respond, a default and judgment will be entered unless the time to respond has been extended as
  provided in SCR Civ 55(a).

       (4) At the time and place noted below, all counsel and unirepresented parties shall'appear before the
  assigned judge at an Initial Scheduling and Settlement Conference to discuss the possibilities of settlement and
  to establish a schedule for the completion of all proceedings,. including, normally, either mediation,' case
  evaluation, or arbitration. Counsel shall discuss with their clients prior to the conference whether the clients are
  agreeable to binding or non-binding arbitration. This order is the only notice that parties and counsel will
  receive concerning this Conference.

       (5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality. Review
  Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
* succeeding Fridays. Request must be made not less than six business days before the scheduling conference date.
  No other continuance of the conference will be granted except upon motion for good cause shown.

       (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
  cases, each Judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
  are available in the Courtroom and on the Court's website http://www.dccour-ts.gov .

                                                                   Chief Judge Lee F. Satterfield
  Case Assigned to: Judge THOMAS J MOTLEY
  Date: April 30, 2014
  Initial Conference: 9:30 am, Friday, August 01, 2014
  Location: Courtroom 212
              500 Indiana Avenue N.W.
              WASHINGTON, DC 20001                                                                     Caio.doc
          Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 2 of 25

                      ADDENDUM TO INITIAL ORDER AFFECTING
                        ALL MEDICAL MALPRACTICE CASES

        In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code § 16-2801,
et seq. (2007 Winter Supp.), "[a]fter an action is filed in the court against a healthcare provider
alleging medical malpractice, the court shall require the parties to enter into mediation, without
discovery or, if all parties agree[,] with only limited discovery that will not interfere with the
completion of mediation' within 30 days of the Initial Scheduling and Settlement Conference
("ISSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
parties agree, the stay of discovery shall not be more than 30 days after the ISSC." D.C,. Code § 16-
282 1.

        To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the date and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https://www:dccourts.gov/pa/. To facilitate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARLY MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. Two separate Early Mediation Forms are available. Both forms may be obtained at
www.dccourts.gov/medmalmediation. One form is to be used for early mediation with a mediator
from the multi-door medical malpractice mediator roster; the second form is to be used for early
mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 410 E Street, N.W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the Multi-Door Dispute Resolution Office.

       A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmediation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 10 years of significant experience in medical malpractice litigation. D.C. Code
§ 16-2823(a). If the parties cannot agree on a mediator, the Court will appoint one. D.C. Code §
16-2823(b).

        The following persons are required by statute to attend personally the Early Mediation
Conference: (1) all parties; (2) for parties that are not individuals, a representative with settlement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys representing each party with primary responsibility for the
case. D.C. Code § 16-2824.

        No later than ten (10) days after the early mediation session has terminated, Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding: (1)
attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope of the dispute, limit discovery, facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation. D.C. Code §
16-2826. Any Plaintiff who is pro se may elect to file the report by hand with the Civil Clerk's
Office.      The formns to be used for -early mediation reports are available at
www.dccourts.gov/medmalmediation.

                                                                     Chief Judge Lee F. Satterfield


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                                      Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 3 of 25
                                                                     S                                                       S



                                                                    Superior Court of-the District of Columbi-a-                            -

                                 T'     OF                                          CVI DIVISION
                                                  *       -                 500 -IndianaAvenue, N.W., Suite 5000
                                                                     Washington; DiC. 20001 Telephonec (202) 879-1133

                                                                                              Plaintiff

                                                              vs.                                                            Case "emr0O0O02                    521

                                                                                           Defendant


                                                                                          SUMMONS
          To the above named Defendant:

                    -You-are. hereby- summoned -And -required- to-2serve an: Answer- to the; attached Complaint-,either
          .personally orthrough an attorney, within twenty (20)1days after service ofthis summons upon you, exclusive'
           of the day of service. --If you are-.being sued--as- an officer or agency- of the' United States Government or the
           District5 f Co'luiiiba-Government, you have~sixtiy (60)'das after Service! of this-summons to serve '!ourf
                 6ir. Abcopf the Answer mus't'e mailed to thytonyfrte                      pat.paintiff who is_ suing you:.h
               attrne's ameand address appear below. fpaintiff hda no attoffiey a'copy'of theAnswer must be mailed
                                                                                   -

                  attrny'   na                        .                      -     4pi,


          to the plaintiff at the address stated on this SummoQns.                                    ,          ,-




-~~~~
             You are ......-   re-------ethoinlAnse
                               6
                       also qure.LAe*ognnwr                     withthe Court in Sut,500a 500. Indiana Avenue,
                        :3..~m -nd. 500p~.,Mondays through, Fridays~or between 9:00,a.m. and. 12:00 noon
                 N.,., ewen
      Saturdays. You may flle~the~origina1 Answer with the Court either before-you serve -a copy 4f the Answer on-.                                                           -

    "the plaintiff or within five (5) days after-you have served the pi ttf. ,fyo        fild
                                                                                            e an Aswer, judgment
-   .by  default-may be, entered against you for th~ relief demanded 1 e complaint.


      Nanie-of-Plainti               ~Attorney
                                                                                                      By~                                                17
      Address                                                                                                                                   r




    -- Telephone                         -        -

                        ~ (20) 8794828                              Veuillez appeler au (202) 879-4828 pour une traduction       Deon~t.bai dich,'hay gg 22 8942
                 ~QlA~,(202) 879-428                                                                     22)87A2&                Di                     1(02 8i9-4C'*.828--



        IMPORTANT: IF. YOU'FAIL TO FILE AN. ANSWER WITHIN THE TIME STATED.ABOVE, OR IF, AFTER Y'OU'
      ANSWER, YOU'FAIL TO APPEAR AT-ANY TIMETHE COURT NOTIFIES YOU TO DO SO; A JUDGMENT BY DEFAULT.
      MAY BE'ENTERED AGAINST- O-FOR THE -MONEY DAMAGESOR' OTHER- RELIEF DEMANDED IN THE'
      COMPLAINT. IF THIS OCCURS, YOUR WAGES MAY BE ATTACHED OR WITHHELD OR PERSONAL PROPERTY OR
      REAL ESTATEYOU. OWN MAY BE TAE AN0ODT PAY THE IJUDGMENT. IF YOU INTEND. TO OPPOSE.THIS
      ACTION, DO NOT FAIL TO ANSWVER WiLTHiN TH URDTIME.                                                              --




            you wish to talk to a lawyer. and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
           -If

      Legal Aid Society (202628-16 1) or ie Neighborhood Legal Services (202-682-2700) for help or come to Suite 5000 at 500
      Indiana Avenue, N.W.,forf more information concerning places where youmay ask for such help.-

                                                                            See reverse side for Spanish translation
                                                                             Vea al dorso Ia traducci6n al espailol

      FORM SUMMONS               -   Jan,. 2011                                                                                           -CASUMdoc
                            Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 4 of 25

                                           TRIBUNAL SUPERIOR DEL DISTRITO DE COLUMBIA
                                or                   500 DIVISION CIVIL
                              OF      co                                  50'0Indiana Avenue, N.W., Suite 5000
                                                                 Washington, D.C. 20001 Telifono: (202) 8.79-1133

                                                                                        Demandante                                                                                           -           %-


                "2      ~
                        -                   ~           'ontra
                                                                                                                                 Ni~mero de Caso:______________


                                                                                        Demandado                /-

                                                                                        CITATORTO                                                                .


 Al susodicho Demandado:                                                                                                                                                                 -
           Por la presente se le cita a comparecer y se le, require entregar una Contestaci6n a IaNDemanda adjunta, sea en
 persona o por inedio de un abogado, en el plazo de-veinte (20) dias. contados despuks que usted haya recibido este
 citatorio, excluyendo ci dia mismo de' a-entrega del citatorio. :Si usted est6 siendo-deriiandadoen.calidad.de oficial o
*agentedel Gobierno de los Estados Unidos de Norteamdrica o del Gobiemo'>dd -Distiito. dle'Columbia; tiene usted
 sesenta (60) dias contados despuds que usted haya-recibido -este ciato padrantie. r-su otsain                 TieElu
'enviarle prcorreo.ua copia-de su Contestaci6n alabogado del at'dmnne                             lIobeydireccidn del
 abogado aparece afinal de este docurnento: Si el d&mandado no tiene abogido, tiene que enviarle al demandante una
 copia de Ia Contestacion por correo a la direcci6n que aparece en cstW7 Citatorio.\                                                                       -


                                                                                                                      \1\\        rbnle']                      fcn           00,st                   n        0

           Austed tambi~n se le require presentarla Contestaci6n originl 'TrbaleaOina                  500ioe         0
 Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.m., de ldnes'4\viemes o entre las 9:00 a.m. y las 12:00 del mediodia
 los s~bados. 'Usted' puede presentar Ia Coniestacikn rgrlat_          el~juez ya sea antes que Usted 16 entregue al
                                                                                                         _


 demanidante una copia deIa Contestacidn oen el lazo de~inco (5) dias dehaberle hechoIa entfega at demandante. Si
 usted incumnple con presentar una Contestacifon/podnia ,dictarseim fallo en rebeldia contra' usted para que se. haga
 efectivo el desagravio que se busca en Ia demanda .-
                                                                                     DEL TRIB UNAL    -SECRETARIO

Nombre del abogado del Demandante

                                                                      ,     ~~\\Por:
                                                                             ~       ~
Direcci6n                                                >       \\                                                                             Subsecretmio

                              ...................        "~           ~             *            Fecha       _               _    _         _    _     _             _   _           _           _       _



Tel~fono                                            '

OIRlif.uilltf        i (202) 879-.4828                  \\Veuilliez appeler au (202) 879-4828 pour une traduction                           DE c6 mot b~i dich. hAy ggi.(202) 879-4828'-



  IMPORTANT& SI USTED INCUMPLE-CON :PRESENTAR UJNA CONTESTACION EN EL PLAZO ANTES
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DICTARSE UN FALLQEN REBELDIA CONTRA USTED PARA QUE SE LE COBRE LOS DAN OS Y PERJUICIOS U OTRO
DESAGRAVIO QUE SE BUSQUE EN'LA DEMANDA. SI ESTO OCURRE, PODRIAN RETENERLE SUS INGRESOS, 0
PODRiAN TOMAR SUS BIENES PERSONALES 0 RAiCES Y. VENDERLOS PARA PAGAR EL FAILO.. SI USTED:
PRETENDE OPONERSE A ESTA ACCi6N,.NO DEJEDE CONTESTARLA DEMANDA DENTRO DEL PLAZOEXIGIDO.-
    .Si desea converser con un abogado y-le parece'que n6 puede afrontar el costo de uno, Ilame pronto a una. de nuestras oficinas. del
Legal Aid Society (202-628-116 1) o eV-Neighborhood Legal Services (202-682-2700) para pedii ayuda o-venga a la Oficina 5000
del 500 Indiana Avenue, N.W., para infornmrse de otros lugares donde puede pedir ayuda al respecto.
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        IN THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIAk,                            '




JAH .JAH BEY.--
1462 Belmont Street D-Level)
Northwest Washington D.C.                             cI%'I1
                                                    Cii           NO%~
                                                    SAPR3302014
       Plaintiff,                                                             0265
V.
                                                    )JURY   TRIAL DEMANDED
EQUIFIAX INFORMATION SERVICES, LLC.)
 1550 PEACHTREE STREET, NW)
ATLANTA, GA 30309)
Serve: CSC LAWYERS INCORPORATING)
SERVICE COMPANY.)
7 SAINT PAUL STREET SUITE 1660)
BALTIMORE, MD 21202)


       Defendant.)

                                      COMPLAINT



       COMES NOW the "Plaintiff', Jah Jab Bey (hereafter the "Plaintiff'), and for his

complaint against the Defendant EQUIFAX INFORMATION SERVICES. LLC.

("Equifax"), alleges as follows:

                                   Preliminary Statement




            1. This is an action for actual damages, statutory damages, and punitive

                damages, costs and attorney's fees brought pursuant to 15 U.S.C. § 168 1

                (Fair Credit Reporting Act or FCRA).
Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 6 of 25




                       JURISDICTION & VENUE




    2. Thejurisdiction of this Court is conferred by 15 U.S.C. §1 681p and 28

       U.S.C. §133 1. Venue in this Court is proper in that "Equifax" transacts

       business here and the conduct complained of occurred here.



                                 PARTIES



    3. "Plaintiff' Jah Jah Bey is a natural person and resides in the District of

       Colombia. He is a "consumer" as defined by the FCRA, 15 U.S.C.

       §1681 a(c).

    4. Upon information and belief, "Equifax", is a corporation authorized to do

       business in the District of Colombia.

    5. Upon information and belief, "Equifax" is a "consumer reporting agency,"

       as defined in 15 U.S.C. § 1681 a(fJ.

    6. Upon informnation and belief, "Equifax" is regularly engaged in the

       business of assembling, evaluating, and disbursing information concerning

       consumers for the purpose of furnishing consumer reports, as defined in

        15 U.S.C. §1681 a(d), to third parties.

    7. Upon information and belief, "Equifax" disburses such consumer reports

       to third parties under contract for monetary compensation.




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                 GENERAL FACTUAL ALLEGATIONS




    8. On August 1, 2009 "Plaintiff' Jah Jab Bey executed a month to month

        lease agreement (hereafter "the agreement') with Chelsea West

        Apartments to reside at 4301 West Village Dr. #2019 Camp Springs, MD

        20746.

    9. "Plaintiff' never missed a payment during the time he resided at 4301

        West Village Dr. #2019 Camp Springs, MD 20746.

     10. "Plaintiff' never made a late payment during the time he resided at 4301

        West Village Dr. #2019 Camp Springs, MD 20746.

     11. "Plaintiff' never breached "the agreement".

     12. "Plaintiff' stopped residing at 4301 West Village Dr. #2019 Camp

        Springs, MD 20746 on November 31, 2009.

     13. According to "the agreement", "Plaintiff' gave Chelsea West Apartments

        adequate and proper notice of his early departure'.

     14. On or about April 2013, Mr. Bey became aware that "Equifax" had been

        reporting a derogatory outstanding debt of $5,579.00 furnished by Fair

        Collections & Outsourcing (hereafter "the account") on his person credit

        files.

    *15. "The account" reporting was false and incorrect.




                                      3
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     16. On or about May 14, 2013 Mr. Bey forwarded to "Equifax" a letter

           (hereafter "letteri") disputing the "the account".

     17. "Letterl " included a detailed description of the nature of Mr. Bey's

   1See Exhibit A. Plaintiffs 60 day notice letter.




     18. "Mr. Bey never received a written response from "Equifax" in regards to

           his dispute "letteri".



     19. On or about June 11, 2013 "Equifax" responded to Mr. Bey's dispute

           "letter]" by verifying "the account".




     20. "The account" reporting on or about June 11, 2013 was false and
         incorrect.


     2 1. On September 2013, Mr. Bey obtained an up to date copy of his credit

           report from "Equifax".

     22. On October 15, 2013, Mr. Bey forwarded a detailed dispute to "Equifax ' 2

           (certified mail receipt number 7012-1010-0003-6407-4479) that contained

           new information 22 of why "the account" was being reported incorrectly

           (hereafter "letter2").

     23. On or about November 2013, "Equifax" responded to Mr. Bey's dispute

           "letter2" by verifying "the account".




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        24. "Equifax" knew the "the account" was being reported incorrectly and

             willfully violated Mr. Bey's rights under the FCRA by refusing to correct

             or delete the account.


 2 See Exhibit B.leter2"

  22See Exhibit C.


                                      15 U.S.C. §1681i



        25. Plaintiff realleges and incorporates paragraphs I through 24 above as if

              fully set out herein.

        26. "Equifax" violated 15 U.S.C. §168 1i(a)( I) by willfully or negligently

              failing to conduct a reasonable investigation of Plaintiffs dispute

              "letter2".

        27. "Equifax" violated 15 U.S.C. §168 1i(a)(l) by willfully or negligently

              failing to conduct a reasonable investigation within thirty (30) days of

              Plaintiffs dispute "letter2".

        28. "Equifax" violated 15 U.S.C. §1681 i(a)(2) by willfully or negligently

              failing to provide Fair Collections & Outsourcing with all the relevant

              informnation supporting Plaintiffs dispute "letter2".

        29. "Equifax" violated 15 U.S.C. §1681 i(a)(4) by willfully or negligently

              failing to review and consider all the informnation provided in Plaintiff's

              dispute "letter2".

         30. "Equifax" violated 15 U.S.C. §1681 (a)(5)(A) by willfully or negligently

              failing to promptly delete the disputed inaccurate item of informnation from




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                    Plaintiff's credit file or modify the itemn of information upon an accurate

                    reinvestigation.

              3 1. As a result of conduct, actions and inactions of "Equifax", the Plaintiff

                    suffered actual damages including without limitation, by example only and

                    as described herein by Plaintiff: credit repair costs, inability to obtain a

                    mor tgage loan', loss of credit opportunity, (larnage to reputation,

                    embarrassment, humiliation and other emotional and mental distress.

               32. "Equifax"'..s conduct, actions and inactions were willful, rendering

                    "Equi fax" liable for punitive damages in an amount to be determined by

                     thle Court pursuant to 15 U.S.C. §1681 n. In the alternative, "Equifax" was

                     negligent, entitling the Plaintiff to recover under 15 U.S.C. § 168 1o.

               33. The Plaintiff is entitled to recover actual damages, statutory damages,

                     costs and attorneys' fees from "Equifax" in anl amount to be determined by

                     the Court pursuant to            is u.S.C.      § 1681 nand§ 168l1o.
      3
          See Exhibit 0. Denial Letters and Mortgagee Letter HUD 4155.1 4.c.2.e



          WHEREFORE, your Plaintiff demands judgment for actual, statutory and

punitive damages against "Equifax", for his attorneys' fees and costs; for prejudgment

and post-judgment interest at the legal rate, and such other relief as the Court deems just,

equitable and proper.




TRIAL BY JURY IS DEMANDED.


                                                                              JAH JANIB
                                                                              By
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JAH JAH BEY
 1462 Belmont Street D-Level
Northwest Washington D.C.
jahjahbey@yahoo.com
(202) 500-1331




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           Exhibit A
            i ..    .....
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                                                                                              Thank you

                                                                                                Jaiji Smith
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            Exhibit B
    Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 15 of 25



Jah Jah Bey                                       Social Security Number xxx-xx-xxxx
POB 471213
District Heights, MD 20753



                              EQUIFAX REPORTING AGENCY

                                     Post Office Box 740256

                                        Atlanta, GA 30374

                     *Please send all corresponding communications to:

                  Jab Jab Bey P.O. BOX 471213 District Heights, MD 20753

 10-15-2013


 Greetings,

 This letter is from Jab Jah Bey. I am writing to have the item listed below removed from my
 credit report that is being incorrectly reported. This is Notice that I dispute all items listed
 below, and ask that you as a Consumer Reporting Agency, consider all the NEW details
 provided in connection to the nature of my dispute.

 The Items are:

 #1 Fair Collections & Outsourcing (ECO) Unlawful Credit Reporting of Account #
 3590326****

 -1 do not owe any debts onl the above mentioned account, and the debt amounts being reported
 are incorrect. In your investigation, be sure to request that ECO provide the following
 informantion on the debt: (I) a copy of the original lease contract that I (formerly known as Jahi
 Smith) signed with Riverstone Residential Group to reside at Chelsea West Apartments, (2)
 verification and explanation of the following outstanding debts (See attached ledger):

 1. In December 2009, 1 was charged $10.32 (See attachment *4 minus *5) for December 1,
 2009 concession. I did not reside at Chelsea West during the month of December 2009, and
 was not liable for December 2009 concession. This fee is in not accurate. In your investigation,
 be sure to request that FCO provide someone with personal knowledge that canl verify this debt
 amount, and also request any document that can establish this debt amount. By document, I
 mean a document that specifically authorizes the charge for December 2009 concession, even
 though I didn't reside at Chelsea West in December 2009.

 2. According to the attached ledger, I was charged $200.00 for up front concession
 reimbursement (See attachment *6). This fee is in not accurate. In your investigation, be sure
 to request that FCO provide someone with personal knowledge that can verify this debt
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 amount, and also request any document that can establish this debt amount. By document, I
 mean a document that specifically authorizes the charge for up front concession.

 3. According to the ledger, I was charged $495.00 for insufficient notice (See attachment *7). 1
 gave sufficient notice, and this fee is in not accurate. In your investigation, be sure to request
 that FCO provide someone with personal knowledge that can verify this debt amount, and also
 request any document that can establish this debt amount. By document, I mean a document
 that specifically authorizes the charge for insufficient notice, even though I gave sufficient
 notice (See Exhibit 2 September 21,2009 notice for November 31,2009 departure-60 day
 notice was required).

 4. According to the ledger, I was charged $145.00 for gas, water, and sewer (See attachment
 *8,*9,&* 10) for December 2009. 1 did not reside at Chelsea West Apartments in December
 2009, and therefore wasn't liable to such charges. This fee is in not accurate. In your
 investigation, be sure to request that ECO provide someone with personal knowledge that can
 verify this debt amount, and also request any document that can establish this debt amount. By
 document, I mean a document that specifically authorizes the charge for December 2009
 utilities, even though I didn't reside at Chelsea West in December 2009.

 5. According to the ledger, I was charged $1,280.00 for re-occuring concession reimbursement
 (See attachment *11). 1 gave sufficient notice, and wasn't subject to a re-occuring concession
 fee. This fee is in not accurate. In your investigation, be sure to request that FCO provide
 someone with personal knowledge that can verify this debt amount, and also request any
 document that can establish this debt amount. By document, I mean a document that
 specifically authorizes the charge for a re-occuring concession reimbursement even though a
 gave sufficient notice.

 6. According to the ledger, I was charged $61.94 (See attachnient *2 minus *3) for one day's
 rent on December 1, 2009. 1 did not reside at Chelsea West during December 2009, and was
 not liable for rent in December 2009. This fee is in not accurate. In your investigation, be sure
 to request that ECO provide someone with personal knowledge that can verify this debt
 amount, and also request any document that can establish this debt amount. By document, I
 mean a document that specifically authorizes the charge for December 2009 rent, even though
 I didn't reside at Chelsea West in December 2009.

 7. The total amount being reported by FCO is $5,579.00. This sum is incorrect, and is also
 inconsistent with the sum total of the attached ledger (See attachment *Mr. Bey4 which lists a
 debt amount of $5,878.72). In order for FCO to verify the amount being reported, FCO would
 by default have to verify the fees and charges listed above (the fees and charges listed above
 were added together to equal the debt amount being reported by FCO). In your investigation,
 be sure to request that FCO provide someone with personal knowledge that can verify this debt
 amount, and also request any document that can establish this debt amount.

Sincerely,
Jah Jah Bey
Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 17 of 25




            Exhibit c
                   Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 18 of 25

                       Case 8:13-&i-00279-PWG                            Document 40-6 Filed 10107/13 Page 2 of 4

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               Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 19 of 25

                   Case 8:13-cv-00279-PWG                                                     Document 40-6. Filed 10/07/13                                                  Page 3of 4




 ,01- S-iOM2:29                                                142 53290i734                                                              9 i 13/ 19



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                       Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 20 of 25

                               Case 8:13-cv-00279-PWG, Document 40-6                                                                                                     Filed 10/07/13            Page 4of 4




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Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 21 of 25




           Exhibit D
            Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 22 of 25
                                                                                   AnnieMac Home Mortgage
                                                                          2525 Augustine Herman Hwy, Suite E
                                                                                  Chesapeake City, MD 21915
                            Annte~ac4                                                                         10'.441.3142
A,~NHoeoo      Motage A~~f~cmaywwwv.danhlor-rell.                                                          annie-mnac.comii
      NMLS,338923.

    DearJah Jah Bey,


            Thank you for inquiring about a purchase of your. new home. Unfortunately at
    this time we are not able to offer you financing. Even though your income and credit
    score is perfect, there is a collection account from Fair Collections that still shows a
    balance pending.

           If and when you are able to resolve this issue with Fair Collections, we would be
    happy to extend financing for you.



     Thank You,



     Daiel.H
     NMLS# 160526
     AnnieMac Home Mortgage
     Mobile: 443.802.8363




      Delaware Clhapter 22 Licensed Lender License (#0 11546), Maryland Mortgage Lender (# 19406), American Neighborhood Mortgage
      Acceptance Comnpany is licensed by the New Jersey Department of-Banking and Insurance (UN000004875), Licensed by the
      Pennsylvania Departmient of Banking as a Mortgage Lender (#33587).
            Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 23 of 25
                                                                                    AnnicMac Home Mortgage
                                                                           2525 Augustine Herman Hwy, Suite E
                                                                                   Chesapeake City, MD 21915
                              Annie~ac410.441.3142
                         Home Mortgagewww.danhor-rell.aninie-maic.coin
Americn Neighbottood
                   MortgageAccptance Company
        NMLS 338923

     To:                               Jah Jah Bey
     From:                             Daniel Horrell
     Subject:                          Loan status
     Date:                             01/21/2014


              Jah Jah, I regret to inform you that until the Fair Collections account on credit is
     satisfied we will not be able to offer you financing.
              I understand your frustration but please know that this is an industry wide rule and
     until that account is removed or settled there is nothing that can be done.


     Thank You,



     Daniel Horrell
     NMLS4t 160526
     AnnieMac Home Mortgage
     Mobile: 443.802.8363




       Delawcare Chapter 22 Licensed Lender License (#0 11546), Maryland Mortgage Lender (#19406), American Neighborhood Mortgage
      Acceptance Company is licensed by the Newc Jersey Department of Banking and Insurance (#N000004875), Licensed by (he
      Pennsylvania Department of Banking as a Mortgage Lender (#33587).
            Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 24 of 25
                ~
          ,vAL~ro     U.S. DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT

              ~   iI~i~iiWASHINGTON, DC 20410-1000
  ASSISTANT SECRETARY FOR I OUSING.-
  FEDERAL HOUSING COMMISSIONER



Mortgagee Letter 2012-3,                  Continued


  Handling of Disputed Accounts/Public Records (continued)

  H UD 4155.1              FHA does not require that collection         If the total outstanding balance of allI
  4.C.2.e                  accounts be paid off as a condition of       collection accounts is equal to or greater than
                           mortgage approval. However, Court-           S1,000 the borrower must resolve the
                           ordered judgments ,iIst be paid off before   accounts (e.g. entered into payment
                           the mortgage loan is eligible for FHA        arrangemients with minimum three month,-
                           insurance endorsement,                       verified payments- paid as agreed) or paid in
                                                                        full at the time of, or prior to closing.
                                                                        Mortgagees must document the ease binder
                                                                        showing each account was resolved or paid
                                                                        inl full.

                                                                        If the total Outstanding balanee ofall
                                                                        Collection accounts is less than SI1,000, the
                                                                        borrower is not required to pay off the
                                                                        collection accounts as a condition of
                                                                        mortgage approval.

                                                                        FHA continues to require judgments to be
                                                                        paid off before the mortgage loan is eligible
                                                                        for Fl-IA insurance. *

   *Exception: An exception to the payoff of a court-ordered judgment may be made if the bOlTower has an

  agreement with the creditor to make regular and timely paymntrs, and provides documentation indicating
  that a minimum of three months payments have been made aecording to the agreement. The monthly
  payment must be included in the borrower's debt-to-income ratio.

  Examples of acceptable documentation to support the resolution of disputed accounts or the -payoff of
  accounts would be a letter from the creditor outlining the terms of the payment arrangements, or verifying
  p~ayoff of debt, cancelled check(s), or a supplement to the credit report verifying payoff or payment
  arrangements.

  Note: Paying "down " of balances on disputed accounts and collections to reduce the singular or
  cumulative balance to belowv $1,000, is not an acceptable resolution of accounts.


                                                                                                Continued on next page
              Case 1:14-cv-00860-RCL Document 1-2 Filed 05/23/14 Page 25 of 25

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